         CASE 0:19-cv-02006-ECT-DTS Doc. 54 Filed 05/22/20 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Esteban Martinez Vazquez,                           File No. 19-cv-2006 (ECT/DTS)

              Plaintiff,

v.                                                     ORDER OF DISMISSAL
                                                        WITH PREJUDICE
TL Edina LLC, d/b/a Taco Libre, St. Paul
Hospitality Systems LLC, d/b/a Taco Libre,
Mpls Hospitality Systems LLC, d/b/a Taco
Libre, TL Enterprise 1 LLC, d/b/a Taco
Libre, Adrian Ramirez, and Diana Martinez
Herrera,

           Defendants.
________________________________________________________________________

       Pursuant to the Stipulation of Dismissal with Prejudice [ECF No. 52], entered into

by Plaintiff and Defendants,

       IT IS ORDERED that the above-captioned action is hereby DISMISSED with

prejudice in its entirety with each party to bear its own costs and attorney fees in connection

with such claims.



Dated: May 22, 2020                        s/ Eric C. Tostrud
                                           Eric C. Tostrud
                                           United States District Court
